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                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:03CR290
                              )
          v.                  )
                              )
STERLING J. McKOY,            )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion
for leave to file supplemental memorandum of law in support of

defendant’s 18 U.S.C. § 3582(c)(2) motion in light of the Eighth

Circuit Court of Appeals December 30th, 2011, remand back to this

Court for further proceedings (Filing No. 473).               The Court finds

the motion should be granted.       Accordingly,

           IT IS ORDERED that defendant’s motion is granted;

defendant shall have until February 20, 2012, to submit his

supplemental memorandum.

           DATED this 23rd day of January, 2012.
                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
